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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
                                                                 :
UNITED STATES OF AMERICA                                         :
                                                                 :   S5 22 Cr. 673 (LAK)
                  v.                                             :
                                                                 :
SAMUEL BANKMAN-FRIED,                                            :
                                                                 :
                                    Defendant.                   :
-----------------------------------------------------------------x


      MEMORANDUM OF LAW IN SUPPORT OF SAMUEL BANKMAN-FRIED’S
             MOTION TO DISMISS COUNTS 3-4 AND COUNT 10
                       IN THE S5 INDICTMENT

                                       PRETRIAL MOTION NO. 3



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                                 PRELIMINARY STATEMENT

        The commodities fraud charges (Counts 3-4) and the conspiracy to operate an unlicensed

money transmitting business charge (Count 10) must be dismissed pursuant to Fed. R. Crim.

P. 12(b)(3) for failure to state an offense.

        Counts 3 and 4 of the Superseding Indictment, Mar. 28, 2023, ECF No. 115 (“S5

Indictment”), which allege that Mr. Bankman-Fried conspired to commit and committed

commodities fraud on FTX (“FTX Trading” or “FTX.com”) customers, should be dismissed for

two reasons. First, the Government has failed to allege an essential element of the offense,

namely, that the fraud was conducted “in connection with” a commodities transaction. Under

established Second Circuit precedent, the “in connection with” requirement is not satisfied

where, as here, the alleged fraud was incidental to, rather than “integral to,” any commodities

transaction. The gravamen of Counts 3 and 4 is that “FTX customer deposits” were

misappropriated by Alameda Research Ltd. (“Alameda”), and used to pay expenses and debts,

and for other purposes. S5 Indictment ¶¶ 70, 73. There is no allegation of any manipulation or

deception in connection with any commodities belonging to or commodities transactions

engaged in by FTX customers.

        The Supreme Court has stated that misappropriation of assets does not satisfy the “in

connection with” requirement if the thing being misappropriated had value to the defendant

independent of its use in commodities transactions, and if the fraud was complete even in the

absence of actual or contemplated commodities transactions. That is exactly what is alleged in

Counts 3 and 4 of the S5 Indictment: customer deposits are alleged to have had value to

Alameda and FTX in the alleged fraud scheme not because they were or would be used to trade

in crypto assets or any other commodity trading, but because they were fiat deposits—that is,

they were a source of funds from which Alameda could allegedly draw. And even assuming
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those deposits were misappropriated, the fraud, if any, was complete when the deposits were

transferred to or accessed by Alameda, without regard to any commodities transaction.

       Second, as alleged, the commodities fraud charges would require an impermissible

extraterritorial application of the Commodities Exchange Act (the “CEA”) and its regulations.

The Second Circuit has held that the CEA is only applicable to domestic conduct, and not to

manipulative conduct or statements that take place predominantly outside the United States.

Because the allegedly manipulative conduct relevant to the commodities fraud charges occurred

almost entirely outside the United States, Counts 3 and 4 should be dismissed.

       Count 10 must also be dismissed. The conspiracy to operate an unlicensed money

transmitting business in Count 10 is charged as a conspiracy to violate Section 1960(b)(1)(B) of

Title 18, which criminalizes a money transmitting business’s failure “to comply with the money

transmitting business registration requirements under [31 U.S.C. § 5330], or regulations

prescribed under such section.” 18 U.S.C. § 1960(b)(1)(B). The implementing regulations for

Section 5330 specify that an entity must register only if it provides the services of a money

services business (“MSB”) entirely or in substantial part in the United States. Crucially, the final

rules promulgated in connection with same regulations also make clear that a foreign-located

entity that merely maintains a U.S. bank account to provide MSB services solely to foreign-

located customers is not required to register under Section 5330. Here, the Government alleges

that FTX engaged in exactly the conduct that the final rules carve out from the registration

requirement. Because the S5 Indictment alleges facts that do not trigger the predicate

registration requirement with respect to the unlicensed money transmitting charge, Count 10

should be dismissed for failure to state an offense.




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I.     STANDARD FOR DISMISSAL UNDER FEDERAL RULES OF CRIMINAL
       PROCEDURE RULE 12(B)

       Pursuant to Rule 12(b) of the Federal Rules of Criminal Procedure, a defendant may

move to dismiss an indictment for “failure to state an offense,” Fed. R. Crim. P. 12(b)(3)(B)(v),

that is, for failure to “allege a crime within the terms of the applicable statute.” United States v.

Aleynikov, 676 F.3d 71, 75-76 (2d Cir. 2012); see United States v. Taveras, 504 F. Supp. 3d 272,

277-78 (S.D.N.Y. 2020) (“[A] charge in an indictment is insufficient and must be dismissed

when it does not describe conduct that is a violation of the criminal statute charged.”) (citation

omitted). In deciding whether the government has failed to allege a crime, the court may

consider, “whether the facts, as alleged on the face of the indictment, satisfy the statutory

definition of a crime.” United States v. Benjamin, No. 21-CR-706 (JPO), 2022 WL 17417038,

at *16 (S.D.N.Y. Dec. 5, 2022).

II.    THE COMMODITIES FRAUD CHARGES (COUNTS 3-4) SHOULD BE
       DISMISSED FOR FAILURE TO ALLEGE A FRAUD “IN CONNECTION
       WITH” A COMMODITIES TRANSACTION AND BECAUSE THEY REQUIRE
       AN IMPERMISSIBLE EXTRATERRITORIAL APPLICATION OF THE CEA.

       Counts 3 and 4, which allege that Mr. Bankman-Fried conspired to commit and

committed commodities fraud on FTX customers, should be dismissed for two reasons. First,

the Government has failed to allege an essential element of the offense, namely, that the fraud

was conducted “in connection with” a commodities transaction, meaning “any swap, or contract

of sale of any commodity in interstate commerce, or contract for future delivery on or subject to

the rules of any registered entity.” 17 C.F.R. § 180.1(a); see also 7 U.S.C. § 9(1). Second, the

substantive statute at issue in these counts, the CEA, cannot be applied to extraterritorial

conduct, and the alleged conduct relevant to Counts 3 and 4 was predominantly foreign.




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           A.      The Government Has Failed to Allege Fraud “In Connection With” a
                   Commodities Transaction.

           To charge commodities fraud, the Government must allege a fraud that is “integral”—and

not merely incidental—to a commodities transaction. See Dabit v. Merrill Lynch, Pierce, Fenner

& Smith, Inc., 395 F.3d 25, 37 (2d Cir. 2005). 1 The “in connection with” requirement is not

satisfied where the thing that is misappropriated has “value to the malefactor apart from [its]

use” in a commodities transaction, and when the alleged fraud is complete even in the absence of

any actual or contemplated commodities transaction. Sec. and Exch. Comm’n v. Zandford,

535 U.S. 813, 824-25, 122 S. Ct. 1899, 1905-06 (2002) (quoting United States v. O’Hagan,

521 U.S. 642, 656, 117 S. Ct. 2199, 2209 (1997)). The commodities fraud charges here turn on

the alleged misappropriation of “customer deposits” with FTX (including deposits to Alameda

bank accounts). S5 Indictment ¶¶ 70, 73. As further explained below, those deposits had value

to Alameda and FTX independent of their use in any commodities transaction, and even if they

were fraudulently misappropriated (they were not), the fraud would have been independent of,

and not integral to, any commodities transactions. Accordingly, Counts 3 and 4 must be

dismissed for failure to state an offense because the allegations in the S5 Indictment do not

satisfy the statutory “in connection with” requirement.

                   1.       The “In Connection With” Requirement of the CEA.

           Rule 180.1 prohibits any person from engaging in certain fraudulent practices “directly or

indirectly, in connection with any swap, or contract of sale of any commodity in interstate

commerce, or contract for future delivery on or subject to the rules of any registered entity.”

17 C.F.R. § 180.1(a) (emphasis added); see also 7 U.S.C. § 9(1) (“It shall be unlawful for any

person, directly or indirectly, to use or employ, or attempt to use or employ, in connection with


1
    Vacated and remanded on other grounds, 547 U.S. 71, 126 S.Ct. 1503 (2006).


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any swap, or a contract of sale of any commodity . . . any manipulative or deceptive device or

contrivance” in violation of CFTC regulations).

         The “in connection with” language “is not limitless,” CFTC Commentary, 17 C.F.R.

§ 180.1, at *41405-06, and the Supreme Court has acknowledged the risk that the “in connection

with” requirement could be “stretched beyond reason” when “applied to the fraudulent use of

money.” O’Hagan, 521 U.S. at 657, 117 S. Ct. at 2210. Thus, the requirement “must not be

construed so broadly as to convert every common-law fraud that happens to involve”

commodities into a violation of the commodities fraud laws. Zandford, 535 U.S. at 820; 122 S.

Ct. at 1903. 2 The alleged “fraud must be ‘integral to’” the commodities transaction in question,

rather than merely “incidental.” Dabit, 395 F.3d at 37 (quoting Pross v. Katz, 784 F.2d 455, 459

(2d Cir. 1986)); Boudinot v. Shrader, No. 09 Civ. 10163 (LAK), 2012 WL 489215, at *5

(S.D.N.Y. Feb. 15, 2012) (Kaplan, J.) (interpreting the phrase “in connection with” as used in the

Private Securities Litigation Reform Act, and citing Dabit).

                  2.       The Allegation That FTX’s Customers Intended to Engage in
                           Commodities Transactions Is Only Incidental to the Alleged Fraud.

         Counts 3 and 4 of the S5 Indictment should be dismissed because the alleged fraud is

merely incidental, not integral, to any commodities transaction. The S5 Indictment alleges a

“scheme to defraud customers of FTX trading or intending to trade futures, options, swaps, and

derivatives by misappropriating those customers’ deposits and using those deposits to pay

expenses and debts of Alameda, and to make investments, and for other purposes.”

S5 Indictment ¶¶ 70, 73. The S5 Indictment alleges that FTX misappropriated customer deposits


2
 While Zandford and other authorities cited in this Section arose in the securities fraud context, they are highly
persuasive here, as courts in CEA cases often rely on decisions interpreting the “in connection with” language in the
context of § 10(b) of the Securities Exchange Act of 1934. See, e.g., Kearney v. Prudential-Bache Sec. Inc., 701 F.
Supp. 416, 424 (S.D.N.Y. 1988). Moreover, the CFTC itself explicitly stated that it intends to be guided by
Zandford in interpreting Rule 180.1. See CFTC Commentary, at *41406.


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in two ways: (1) by commingling customer fiat deposits with Alameda assets in Alameda bank

accounts and allowing Alameda to use the commingled funds to, inter alia, finance its trading

and expenses and make venture investments and political donations, id. ¶ 22; and (2) by making

changes to FTX’s software code that permitted Alameda to borrow funds from FTX without

sufficient collateral and withdraw funds, including customer funds, from the exchange.

Id. ¶¶ 23-24. Even assuming that either of these theories could amount to fraud of any sort (they

cannot), the S5 Indictment does not allege that either constituted fraud that is “integral” to a

commodities transaction.

       Under both theories, the alleged object of the scheme was to misappropriate FTX

customer fiat deposits for Alameda’s use. See id. ¶¶ 22-24, 70, 73. Nowhere does the

Government allege that the allegedly fraudulent transactions directly at issue in Counts 3 and 4,

i.e., moving customer deposits into Alameda bank accounts and the withdrawal by Alameda of

customer funds held by FTX, were integral to any “swap, or contract of sale of any commodity

in interstate commerce, or contract for future delivery on and subject to the rules of any

registered entity”. 17 C.F.R. § 180.1(a).

       By contrast, in Zandford, the Court found the “in connection with” requirement satisfied

where the respondent broker sold customer assets from a discretionary account without his

clients’ knowledge or consent and misappropriated the proceeds. 535 U.S. at 820, 122 S. Ct.

at 1903. Because the securities transactions themselves “enabled [the respondent] to convert the

proceeds . . . to his own use,” the Court reasoned that “respondent’s fraud coincided with the

sales themselves.” Id. Here, the alleged commingling and borrowing of FTX customer funds

was entirely separate from any commodities transactions FTX customers may have engaged in:

FTX customers themselves chose when and what to trade on the platform, and there is no




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allegation of any manipulation or deception in connection with any commodities or commodities

transactions. See, e.g., Chem. Bank v. Arthur Andersen & Co., 726 F.2d 930, 943 (2d Cir. 1984)

(“in connection with” requirement not satisfied where no misrepresentations were made with

respect to stock of company); cf. In re J.P. Jeanneret Assocs., Inc., 769 F. Supp. 2d 340, 361-63

(S.D.N.Y. 2011) (“in connection with” requirement satisfied where investor entrusted funds to a

money manager with understanding that manager would invest them in securities, which

manager failed to do); see also S5 Indictment ¶ 11 (describing the forms of trading customers

could engage in on FTX at their own discretion).

       Indeed, to the extent that the S5 Indictment alleges fraud at all, it alleges a fraud akin to a

situation that the Supreme Court explicitly stated in Zandford would not satisfy the “in

connection with” requirement. See Zandford, 535 U.S. at 825 n.4, 122 S. Ct. at 1906 n.4.

Specifically, the Court indicated that if “a broker embezzles cash from a client’s account or takes

advantage of the fiduciary relationship to induce his client into a fraudulent real estate

transaction, then the fraud would not include the requisite connection to” a commodities

transaction. Zandford, 535 U.S. at 825 n.4, 122 S. Ct. at 1906 n.4; see also Dabit, 395 F.3d at 37

& n.19 (noting that “outright embezzlement from the client’s account” would not satisfy the “in

connection with” requirement, and citing Zandford’s “uncontradicted dictum” to that effect).

This passage in Zandford draws from the Supreme Court’s discussion in O’Hagan regarding the

way in which the “in connection with” requirement imposes “limitation[s] on the forms of fraud”

encompassed by § 10(b). O’Hagan, 521 U.S. at 656, 117 S. Ct. at 2209.

       The Government’s commodities fraud theory exceeds those limitations in precisely the

manner discussed in Zandford and O’Hagan. The objective of the fraud alleged in Counts 3

and 4 of the S5 Indictment was to misappropriate customer fiat “deposits” (without regard to any




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commodities transactions for which customers may have contemplated using those deposits) and

to use the funds for various Alameda-related purposes (i.e., for purposes wholly unrelated to

potential commodities trades in which customers may have engaged). See Zandford, 535 U.S.

at 824. This is counter to the principle discussed by the O’Hagan Court, that a fraud that is

“complete” upon the embezzlement of funds cannot be converted to commodities fraud through

a subsequent transaction. The Court illustrated this point by noting that the “in connection with”

requirement would not be met if a person “defrauded a bank into giving him a loan . . . and then

used the proceeds . . . to purchase securities.” O’Hagan, 521 U.S. at 646. Just as in the quoted

example, the allegedly misappropriated customer deposits in this case had value to the alleged

co-conspirators “‘apart from their use in a [commodities] transaction,’” and the alleged “‘fraud

would be complete as soon as the money was obtained.’” Id.

       Thus, the alleged connection to commodities transactions was merely incidental, and not

integral, to the alleged fraud and Counts 3 and 4 must be dismissed.

       B.      The S5 Indictment Seeks an Impermissible Extraterritorial Application of
               the CEA.

       Even if the S5 Indictment satisfied the “in connection with” requirement necessary to

state conspiracy and substantive commodities fraud offenses, Counts 3 and 4 should still be

dismissed, because the Government’s theory underlying those charges would require an

extraterritorial—and thus impermissible—application of the CEA.

               1.     The CEA Does Not Apply Extraterritorially.

       It is well-established that “[a]bsent clearly expressed congressional intent to the contrary,

federal laws will be construed to have only domestic application.” RJR Nabisco, Inc., et al. v.

Eur. Cmty., et al., 579 U.S. 325, 335, 136 S. Ct. 2090, 2100 (2016) (citing Morrison v. Nat’l

Australia Bank Ltd., 561 U.S. 247, 255, 130 S. Ct. 2869 (2010)). In RJR Nabisco, the Supreme



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Court set forth a two-step framework for analyzing whether a party seeks to impermissibly apply

a statute extraterritorially:

         At the first step, we ask whether the presumption against extraterritoriality has
         been rebutted—that is, whether the statute gives a clear, affirmative indication
         that it applies extraterritorially. . . . If the statute is not extraterritorial, then at the
         second step we determine whether the case involves a domestic application of the
         statute, and we do this by looking to the statute’s “focus.” If the conduct relevant
         to the statute’s focus occurred in the United States, then the case involves a
         permissible domestic application even if other conduct occurred abroad; but if the
         conduct relevant to the focus occurred in a foreign country, then the case involves
         an impermissible extraterritorial application regardless of any other conduct that
         occurred in U.S. territory.

RJR Nabisco, 579 U.S. at 337, 136 S. Ct at 2101. 3 As to the first step, the Second Circuit has

definitively concluded that Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1), is a domestic statute that

does not apply extraterritorially. See Prime Int’l Trading, Ltd. v. BP P.L.C., 937 F.3d 94, 103

(2d Cir. 2019) (holding that Section 6(c)(1) of the CEA lacks “a clear statement of extraterritorial

effect”) (citation and internal quotation marks omitted). 4

         In addition, because “the extraterritorial reach of an ancillary offense like . . . conspiracy

is coterminous with that of the underlying criminal statute,” the conspiracy counts—Counts 1

and 3—cannot be used to expand the territorial reach of the substantive CEA provisions at issue.

United States v. Hoskins, 902 F.3d 69, 96 (citation and quotation marks omitted) (affirming

3
  Because the presumption against extraterritoriality applies with the same force in the criminal and civil contexts,
civil cases analyzing the scope of the wire fraud and commodities fraud statutes are relevant here. See United States
v. Vilar, 729 F.3d 62, 98 (2d Cir. 2013) (holding that “Section 10(b) and Rule 10b-5 do not apply to extraterritorial
conduct, regardless of whether liability is sought criminally or civilly”).
4
  Section 6(c)(1) is the principal statute cited in connection with Count 4, the substantive CEA count. The
S5 Indictment also cites to CEA Section 9(a)(5), 7 U.S.C. § 13(a)(5), which creates criminal liability for willful
violations of Chapter 1 of the CEA, which encompasses Section 6(c)(1). While we are aware of no case determining
whether Section 9(a)(5) applies extraterritorially, there is no language in Section 9(a)(5) that suggests its territorial
reach is broader than that of Section 6(c)(1) or Section 9(a)(2), both of which the Second Circuit held do not apply
extraterritorially. See Prime Int’l Trading, 937 F.3d at 103. The S5 Indictment also cites Rule 180.1, 17 CFR
§ 180.1, which was promulgated by the CFTC pursuant to the CEA, which likewise contains no broader language
regarding territorial reach and applies only domestically. Cf. Morrison, 561 U.S. at 261-62, 130 S. Ct. at 2881
(holding that since Rule 10b-5 was promulgated under Section 10(b) of the Securities Exchange Act, “if § 10(b) is
not extraterritorial, neither is Rule 10b-5”).



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dismissal of conspiracy charge under 18 U.S.C. § 371 where underlying statute had no

extraterritorial application to alleged conduct); see also United States v. Gasperini, No. 16-CR-

441 (NGG), 2017 WL 2399693, at *8 n.6 (E.D.N.Y. June 1, 2017) (“[T]here is no reason to

differentiate the extraterritoriality analysis as between ‘ancillary’ offenses and the underlying

substantive offense, and so the court’s examination of the wire fraud violation applies equally to

the related wire fraud conspiracy count.”).

       Thus, the inquiry proceeds to the second step of the RJR Nabisco framework and the

Government’s case may only proceed based on conduct “relevant to the statute’s focus” that

occurred within the United States. RJR Nabisco, 579 U.S. at 337, 136 S. Ct. at 2101.

               2.      The Alleged Conduct Relevant to CEA Section 6(c)(1)’s Focus
                       Occurred Abroad and thus the Commodities Fraud Charges
                       (Counts 3-4) Allege an Impermissibly Extraterritorial Theory
                       and Should Be Dismissed.

       The Second Circuit determined in Prime International Trading that the CEA’s “focus is

on rooting out manipulation and ensuring market integrity—not on the geographical coordinates

of the transactions.” Prime Int’l Trading, 937 F.3d at 107. The Second Circuit thus concluded

that “Section 6(c)(1) centers on manipulation in commodities markets.” Id. at 107. If “the

conduct relevant to that focus occurred abroad, . . . then the case involves an impermissible

extraterritorial application regardless of any other conduct that occurred in U.S. territory.” Id.

at 107-108 (emphasis in original) (citation and internal quotation marks omitted). Thus, whether

the Government is seeking an impermissible extraterritorial application of the CEA turns on

whether it alleges that sufficient “manipulative conduct or statements [were] made in the United

States,” id. at 108, that is, whether the alleged offense is “so predominately foreign as to be

impermissibly extraterritorial.” Id. at 106 (citation and internal quotation marks omitted). The

Second Circuit determined in Prime International that the plaintiffs failed to allege a domestic



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application of Section 6(c)(1) where they contended that defendants, while outside the United

States, engaged in artificial trades in overseas commodities markets and data regarding such

trades was incorporated into pricing assessments that were subsequently used to settle futures

contracts that were traded on a U.S.-based commodities exchange. See id. at 100, 107-08.

        Here, the Government alleges that commodities markets were manipulated when

Mr. Bankman-Fried carried out a deceptive scheme in which he (1) represented to customers that

FTX “would protect their interests and segregate their assets” from its own, but permitted

customer assets to be commingled with Alameda assets, and (2) represented to customers that

Alameda’s “account is just like everyone else’s” on FTX.com and that “Alameda is a wholly

separate entity,” even though Alameda was allegedly permitted to borrow funds from the

exchange while having a negative account balance that exceeded its posted collateral.

See S5 Indictment ¶¶ 2-3, 22-24. However, any alleged conduct potentially relevant to

Section 6(c)(1)’s focus—“manipulation on commodities markets”—occurred almost entirely

abroad. The commodities market at issue, FTX.com, was a foreign commodities market that was

organized in Antigua and headquartered in the Bahamas, did not accept U.S. customers, and

generally operated abroad. See S5 Indictment ¶¶ 2, 11, 17 (describing FTX Trading Ltd. dba

FTX.com as “a global cryptocurrency exchange” and “an international platform”); Ex. 5 6 (FTX

Trading Certificate of Incorporation) at SDNY_03_00506266; Nelson Wang, FTX Moves

Headquarters From Hong Kong to Bahamas, CoinDesk (Sept. 24, 2021 12:07 PM),

(https://www.coindesk.com/business/2021/09/24/ftx-moves-headquarters-from-hong-kong-to-

bahamas-report). 6


5
  Citations to “Ex. _” refer to exhibits attached to the Declaration of Christian R. Everdell in Support of Samuel
Bankman-Fried’s Pretrial Motions, dated May 8, 2023.
6
  Under Federal Rule of Evidence 201(b), a “court may judicially notice a fact that is not subject to reasonable
dispute because it . . . can be accurately and readily determined from sources whose accuracy cannot reasonably be


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        The only specific U.S. conduct or impact the Government alleges are (1) Mr. Bankman-

Fried’s statements to the United States Senate, S5 Indictment ¶ 2, (2) North Dimension’s bank

account at Bank-1, id. ¶¶ 16-21, and (3) “[the] significant negative price impact on the value of

commodities in interstate commerce in the United States, including bitcoin and ether spot and

future prices,” id. ¶ 55—none of which constitute domestic conduct sufficient to support an

application of the CEA here.

        First, a single statement made in the United States is not a sufficient basis for the

application of the CEA. In Laydon v. Cooperatieve Rabobank U.A., the Second Circuit rejected

the plaintiff’s argument that his allegations of communications that were made from or passed

through the United States, including an email that a trader sent in furtherance of the alleged

conspiracy while on a two-day trip in the United States, were sufficient domestic conduct to

support a CEA claim. See Laydon v. Cooperatieve Rabobank U.A., 55 F.4th 86, 97 (2d Cir.

2022). Like the trader’s email in Laydon, Mr. Bankman-Fried’s statement to the U.S. Senate

while on a brief trip here is not sufficient to support a domestic application of the CEA. As the

Morrison Court noted, “the presumption against extraterritorial application would be a craven

watchdog indeed if it retreated to its kennel whenever some domestic activity is involved in the

case.” Morrison v. Nat’l Australia Bank Ltd., 561 U.S. 247, 266, 130 S. Ct. 2869, 2884 (2010)

(emphasis in original); see also Laydon, 55 F.4th at 97 (finding an impermissible extraterritorial




questioned.” Fed. R. Evid. 201(b)(2). Facts such as where a company is incorporated or headquartered fall squarely
within the types of facts that may be judicially noticed under Rule 201(b). See Chan Ah Wah, et al. v. HSBC N. Am.
Holdings Inc, et al., No. 15 CIV. 8974 (LGS), 2019 WL 859042, at *1 (S.D.N.Y. Feb. 22, 2019) (taking judicial
notice of where foreign companies were incorporated and headquartered); United States v. Noyes, No. 1:08-CR-55-
SJM-1, 2010 WL 5139859, at *9 (W.D. Pa. Dec. 8, 2010) (noting that magistrate judge could have judicially noticed
fact that email account providers were headquartered in Northern California). Thus, the defense respectfully
requests that the Court take judicial notice of the fact that FTX is organized in Antigua and headquartered in the
Bahamas.



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application of the CEA in part because “the alleged manipulative conduct occurred almost

entirely abroad”) (emphasis added).

       Second, the alleged use of North Dimension’s U.S.-based bank account to receive and

send customer funds was tangential to any commodities transaction or markets, rather than being

“in connection with” a commodities transaction as required under the CEA. 7 U.S.C. § 9(1).

That is, the ostensible focus of the alleged scheme as set forth in the S5 Indictment was on the

bank accounts into which customers deposited funds, not on actual purchases or sales of

commodities or any other manipulation of commodities markets. Cf. Loginovskaya v.

Batratchenko, 764 F.3d 266, 275 (2d Cir. 2014) (rejecting plaintiff’s argument that wire transfers

to defendant’s New York bank account were domestic transactions for purpose of CEA claim—

rather, “[t]hese transfers . . . were actions needed to carry out the transactions, and not the

transactions themselves—which were previously entered into when the [investment] contracts

were executed in Russia”). That customers (all of whom were supposed to be located abroad)

may have deposited such funds with the intention they be used to trade commodities is too

attenuated to satisfy the “in connection with” requirement.

       Third, the alleged impact of the purported scheme on the prices of commodities in

interstate commerce is too attenuated a connection to establish a domestic application of the

CEA. See Prime Int’l, 937 F.3d at 100, 107-08 (plaintiff failed to allege a domestic application

of CEA Section 6(c)(1) where plaintiff did not allege that defendants engaged in any

manipulative conduct in the United States, only that defendants’ foreign conduct “caused ripple

effects across global commodities markets”). Any negative price impact of the allegedly

fraudulent scheme relating to FTX—a foreign commodities market only open to non-U.S.

residents—may have had on the U.S. commodities market was a “ripple effect” that cannot




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sustain an application of the CEA. As in Prime, the conduct alleged here—which relates to the

use by foreign customers of a foreign trading platform, rather than to information relating to

specific transactions or the value of “bitcoin and ether spot and future prices,”

S5 Indictment ¶ 55—is too far removed from the price at which any commodities were traded in

the U.S. to alter the “predominantly foreign” nature of the alleged conduct here. Id. at 107.

Further, as noted, the focus of the relevant CEA provisions, for purposes of the extraterritoriality

analysis, is on the site of the alleged “manipulative conduct,” id. at 108, not on the attenuated

effect of such conduct on commodities prices in the United States.

       For these reasons, the Government has failed to allege a domestic application of the CEA,

and Counts 3-4 should be dismissed in their entirety, or, in the alternative, to the extent the

manipulative conduct in a foreign commodities market occurred abroad.

III.   THE CHARGE FOR CONSPIRACY TO OPERATE AN UNLICENSED MONEY
       TRANSMITTING BUSINESS (COUNT 10) SHOULD BE DISMISSED BECAUSE
       FTX WAS NOT REQUIRED TO REGISTER AS A MONEY TRANSMITTING
       BUSINESS

       Count 10 of the S5 Indictment should be dismissed because the Government fails to

allege that Mr. Bankman-Fried operated an unlicensed money transmitting business within the

meaning of 18 U.S.C. § 1960. The S5 Indictment alleges that Mr. Bankman-Fried conspired to

violate Section 1960 by failing to register a money transmitting business with the Secretary of

the Treasury as required by the Bank Secrecy Act. See S5 Indictment ¶¶ 88-90; 18 U.S.C.

§ 1960(b)(1)(B) (violation to fail to comply with registration requirements of 31 U.S.C. § 5330).

Even accepting the allegations in the S5 Indictment as true, FTX was not subject to the

registration requirements because its only relevant domestic activity was the use of a U.S. bank

account. Accordingly, Count 10 fails to allege an offense and must be dismissed.




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       A.      Relevant Allegations

       As alleged in the S5 Indictment, Count 10 is premised upon an important distinction

between FTX entities and their respective customer bases. On the one hand, FTX.US, “FTX’s

business in the United States,” served U.S. customers and registered “as a money services

business in 2020.” S5 Indictment ¶ 17. On the other hand, FTX, “an international platform,”

served non-U.S. customers engaging in foreign transactions. See id. ¶ 17. Those wholly foreign

transactions involved a variety of currencies, “including U.S. dollars,” and FTX therefore

“needed bank accounts that would allow FTX customers to deposit dollars with FTX.” See id.

¶ 14. Eventually, FTX allegedly “directed customer [U.S.] dollar deposits to” a U.S. bank

account at Bank-1. Id. ¶ 21; see also ¶ 15. Unlike FTX.US, “no attempts were made to make

FTX a licensed money services business” based on its activities in connection with its United

States bank account or otherwise. Id. ¶ 17.

       B.      Applicable Law

       Section 1960 makes it a crime to operate an “unlicensed money transmitting business.”

18 U.S.C. § 1960(a). The term “money transmitting” in Section 1960 “includes transferring

funds on behalf of the public by any and all means.” Id. § 1960(b)(2). The statute sets forth

multiple ways in which a business may qualify as an unlicensed money transmitting business.

See id. §§ 1960(a) & (b)(1). As charged in Count 10 of the S5 Indictment, an unlicensed money

transmitting business means (i) “a money transmitting business” that (ii) “affects interstate or

foreign commerce in any manner or degree” and (iii) “fails to comply with the money

transmitting business registration requirements under section 5330 of title 31, United States

Code, or regulations prescribed under such section.” Id. §§ 1960(a) & (b)(1)(B).

       Section 5330 is a provision of the Bank Secrecy Act that requires the owner of a “money

transmitting business” to register with the Secretary of the Treasury. 31 U.S.C. § 5330(a)(1).


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The definition of a “money transmitting business” in Section 5330 includes both (i) a “money

transmitting service,” which includes persons “accepting currency, funds, or value that

substitutes for currency and transmitting the currency, funds, or value that substitutes for

currency by any means”; and (ii) “any other person who engages as a business in the

transmission of currency, funds, or value that substitutes for currency.” Id. §§ 5330(d)(2)

& (d)(1)(A).

       The implementing regulations for Section 5330 are administered by the U.S. Treasury

Department’s Financial Crimes Enforcement Network (“FinCEN”) in 31 C.F.R. § 1010.100

et seq. (together, the “FinCEN Regulations”). The FinCEN Regulations require that “each

money services business . . . must register with FinCEN” except if it falls within certain

enumerated exceptions. 31 C.F.R. § 1022.380(a)(1). A “money services business” (“MSB”) is

defined as “[a] person wherever located doing business, whether or not on a regular basis or as

an organized or licensed business concern, wholly or in substantial part within the United States,

in one or more of the capacities” enumerated in the FinCEN Regulations. Id. § 1010.100(ff).

One such category of MSB is a “money transmitter,” which is either (i) someone who provides

“money transmission services,” defined as “the acceptance of currency, funds, or other value that

substitutes for currency from one person and the transmission of currency, funds, or other value

that substitutes for currency to another location or person by any means”; or (ii) “[a]ny other

person engaged in the transfer of funds.” Id. § 1010.100(ff)(5)(i) (emphasis in original).

       Key to the FinCEN Regulations (and, by extension, the criminalizing scope of

Section 1960(b)(1)(B)’s registration requirement) is the limitation that MSBs must register only

if the services they provide as an MSB occur “wholly or in substantial part within the United

States.” Id. § 1010.100(ff); accord id. § 1022.380(a)(2) (requiring “[e]ach foreign-located




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person doing business. . . in the United States as a money services business” to designate an

agent for compliance with the FinCEN Regulations).

       C.      FTX Was Not Required to Register as a Money Transmitting Business Based
               Solely on the Use of a U.S. Bank Account.

       The allegations in the S5 Indictment as to FTX are insufficient to state an offense under

Section 1960(b)(1)(B) as charged. At most, the S5 Indictment alleges that FTX—a foreign

cryptocurrency exchange that provided services exclusively to non-U.S. customers—used a U.S.

bank account to receive U.S. dollar deposits and process withdrawals for those customers.

See S5 Indictment ¶¶ 14, 17. But the mere use of a U.S. bank account does not, by itself, bring

FTX within the scope of the registration requirements set forth in the FinCEN Regulations.

       In 2011, FinCEN published a final rule concerning the registration requirements for

“foreign-located” MSBs in recognition of the fact that the Internet made it easier for companies

to offer MSB services in the United States from foreign locations. See Bank Secrecy Act

Regulations; Definitions and Other Regulations Relating to Money Services Businesses, 76 Fed.

Reg. 43585, 43588 (Jul. 21, 2011), available at 2011 WL 2881105 (the “Final Rule”). Under the

Final Rule, a “foreign-located” entity was required to register if it operated as an MSB “wholly

or in substantial part within the United States,” regardless of the physical location of the entity.

Id. (citing 31 C.F.R. § 1010.100(ff)). The threshold for “substantial” activity “within the United

States” is dependent on “the facts and circumstances of each case, including whether persons in

the United States are obtaining MSB services from the foreign-located person, such as sending

money to or receiving money from third parties through the foreign-located person.” Id.

       Crucially, the Final Rule identified a circumstance in which MSB activity in the United

States definitively is not “substantial” enough to trigger the registration requirement, stating in

relevant part: “a foreign-located person’s mere maintenance of a bank account in the United



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States should not cause that person to be defined as an MSB” within the meaning of the FinCEN

Regulations. See id.

       The S5 Indictment alleges that FTX engaged in precisely the conduct that the Final Rule

provides does not require registration as an MSB. The S5 Indictment defines “FTX” as

“FTX.com,” i.e., FTX’s foreign-based exchange that was “an international platform” servicing

exclusively non-U.S. customers. S5 Indictment ¶¶ 1, 17. FTX is distinct from “FTX.US,” which

the S5 Indictment acknowledges was “FTX’s business in the United States” that serviced U.S.

customers and registered as an MSB in 2020. Id. ¶ 17.

       Thus, the S5 Indictment alleges, at most, that FTX, a foreign entity, used a U.S. bank

account at Bank-1 to receive U.S. dollar deposits and make withdrawals for its foreign customers

who wished to transact in U.S. dollars abroad. See id. ¶¶ 14–15, 17, 21; Final Rule at 43588

(“[M]ere maintenance of a bank account in the United States should not cause that person to be

defined as an MSB.”). Notably, the S5 Indictment does not allege activity within the U.S. that

would normally require a foreign-located company to register as an MSB. For example, the

S5 Indictment does not allege that FTX served U.S. customers, sent any U.S. customer’s money

to third parties, received money from third parties on behalf of a U.S. customer, or otherwise

provided, as a foreign-located entity, any services of a money services business to a U.S.

customer. See Final Rule at 43588.

       Indeed, documents exchanged in discovery make clear that FTX sought and received the

advice of outside counsel that FTX did not, in fact, need to register as a money services business.

For example, a February 28, 2020 email from the law firm Fenwick & West LLP provided

FTX’s Chief Regulatory Officer and General Counsel with its conclusions regarding the

application of the MSB registration requirements, citing FinCEN Guidance: “On its face, FTX is




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not a customer ‘located’ in the United States,” based on, inter alia, FTX’s incorporation and

operation outside the United States, rules not allowing “US persons to trade on its platform,”

lack of physical presence in the United States, and lack of business activities conducted within

the United States.” Ex. 7 (Feb. 28, 2020 Email from I. Voloshin (Fenwick) to D. Friedberg

(FTX)) at SDNY_03_00567632.

        As alleged, FTX’s use of a U.S. bank account was purely incidental to facilitate

otherwise entirely foreign transactions. See S5 Indictment ¶¶ 14, 17. Such “mere maintenance

of a [U.S.] bank account” is the type of de minimis activity by a foreign company that FinCEN

expressly carves out from any requirement to register under Section 5330 or the FinCEN

Regulations. See Final Rule at 43585, 43588; see also United States v. Harmon, 474 F. Supp. 3d

76, 102 (D.D.C. 2020) (construing scope of Section 5330 as coextensive with the FinCEN

Regulations and citing the Final Rule). 7 Absent any registration requirement for FTX,

Mr. Bankman-Fried could not have violated Section 1960(b)(1)(B). Accordingly, Count 10 of

the S5 Indictment must be dismissed.




7
  Courts routinely rely on FinCEN’s final rules and other publications to determine whether the government
adequately alleged that the defendant operated a “money services business” under Section 5330 and the FinCEN
Regulations and, on that basis, whether the defendant violated the registration offense of Section 1960(b)(1)(B).
See, e.g., Harmon, 474 F. Supp.3d at 102-03 (relying on FinCEN Final Rule to determine the scope of registration
requirement of Section 5330 and the FinCEN regulations); United States v. Faiella, 39 F. Supp. 3d 544, 546–47
(S.D.N.Y. 2014) (relying on “specifically clarifying” FinCEN guidance to determine that business was a money
services business).



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                                         CONCLUSION

        For the reasons set forth above, we respectfully request that the Court grant the motions

presented in their entirety.


Dated: May 8, 2023
       New York, New York




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